            Case 1:15-cv-01657-EGS Document 11 Filed 06/03/16 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

BANGON CHOMDET, et al.,

                Plaintiffs,

       v.                                            Civil Action No. 1:15-cv-01657-EGS

RED BEAN SYSTEM, INC. et al.

                Defendants.



                                   JOINT STATUS REPORT

       Defendants Pramote Changsila, Red Bean System, Inc., Red Bean System II, Inc., and Ja-

Roen-D, Inc. and Plaintiffs Bangon Chomdet and Usias Abraham Santos Hernandes (collectively

the “Parties”), through their respective counsel of record, submit this joint report regarding the

status of the litigation pursuant to the Court’s minute order of February 1, 2016.

       The Parties have reached agreement in principle on the terms of a settlement of all

claims. Because of this resolution, the Parties request that the Court remove from the calendar

the status conference scheduled for June 9, 2016. The Parties anticipate filing a joint stipulation

of dismissal, with prejudice, within 21 days.
         Case 1:15-cv-01657-EGS Document 11 Filed 06/03/16 Page 2 of 2




                                    Respectfully submitted,

                                    JACKSON LEWIS P.C.


                                    _/s/_Jacqueline C. Tully__________________
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